Case 1:19-cv-00571-|\/|SK Document 8 Filed 03/18/19 USDC Co|orado Page 1 01 1

AFF|DAV|T OF SERVICE

UNITED STATES DISTRICT COURT
District of Co|orado

 

Case Number: 19-CV-00571-REB

P|aintiff:
Keith Hobbs, individually and on behalf of all others similarly situated

VS.

Defendant:
HomeAdvisor, lnc., a Delaware Corporation

For:

Woodrow & Pe|uso, LLC
3900 E. Mexico Avenue
Suite 300

Denver, CO 80210

Received by Front Range Legal Process Service, lnc. on the 27th day of February, 2019 at 3:01 pm to be served on HomeAdvisor,
lnc. Registered Agent: The Corporation Company, 7700 East Arapahoe Road, Suite 220, Centennial, CO 80112.

l, Derek Minto, being duly sworn, depose and say that on the 28th day of February, 2019 at 12:09 pm, |:

served a CORPORATION by delivering a true copy of the Summons; Class Action Demand for Jury Trial; Civil Cover Sheet; and
Consent /Non-Consent To Exercise Of Jurisdiction By A United States Magistrate Judge; Election Concerning Consent /Non-
Consent To United States Magistrate Judge Jurisdiction with the date and hour of service endorsed thereon by me, to: Angela
Hodges of The Corporation Company as Registered Agent for HomeAdvisor, lnc., at the address of: 7700 E. Arapahoe Road #
220, Centennial, CO 80112, and informed said person of the contents therein, in compliance with state statutes

| certify that l am over the age of 18 and have no interest in the above action.

 

 

 

 

Subscribed and sworn to before me on the 18th day of gM Minto
l\/|arch 0 9 by the affiant who is personally known to ‘ process gen/er
me.
w Front Range Legal Process Service, lnc.
0 \ 145 W. Swallow Road

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Q\ l rlde (aaa) 387-3783
NOTAR?'EP(P|RAT|ON DATE ___ Our Job Serial Number: FRS~2019001560

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